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1    Scott N. Cameron (SBN 226605)
     Attorney at Law
2    1007 7th Street, Suite 319
     Sacramento, CA 95814
3    Telephone: 916-442-5230
4    Attorney for:
     SARAH LANCASTER
5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )        CASE NO.    CR S-08-392 GEB
                                   )
11                  Plaintiff,     )        STIPULATION AND ORDER CONTINUING
                                   )        SENTENCING HEARING
12        v.                       )
                                   )
13   SARAH LANCASTER, et. al,      )        DATE:    April 30, 2010
                                   )        TIME:    9:00 a.m.
14                  Defendants.    )        COURT:   Hon. Garland E. Burrell
     ______________________________)
15
16                                    Stipulation
17         The parties, through undersigned counsel, stipulate that the
18   judgement and sentencing hearing scheduled for April 30, 2010, may be
19   continued to June 18, 2010, at 9:00 a.m.
20         Pursuant to the plea agreement, filed under seal with this Court,
21   the additional time is necessary before judgment and sentencing may be
22   pronounced.
23         The prosecutor has authorized defense counsel to sign this
24   stipulation on his behalf.
25   / /
26   / /
27   / /
28

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              Case 2:08-cr-00392-GEB Document 289 Filed 05/06/10 Page 2 of 2


1    DATED: April 27, 2010                BENJAMIN WAGNER
                                          United States Attorney
2
3
                                    by    /s/ Scott Cameron, for
4                                         Michael Beckwith
                                          Assistant U.S. Attorney
5
6    DATED: April 27, 2010
7                                   by    /s/ Scott N. Cameron
                                          Scott N. Cameron
8                                         Counsel for SARAH LANCASTER
9
                                           Order
10
          Good cause appearing,
11
          The sentencing hearing scheduled for April 30, 2010, is continued
12
     to June 18, 2010, at 9:00 a.m.
13
14
          IT IS SO ORDERED.
15
16   Dated:     May 5, 2010

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18                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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